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     Attorneys for Gagik Nersesyan
 4

 5
                            UNITED STATES DISTRICT COURT
 6
                          EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES,                              No. 17-CR-00028 WBS
 9
                     Plaintiff,
10
           v.                                    STIPULATION AND ORDER TO
11                                               MODIFY CONDITIONS OF
     GAGIK NERSESYAN,                            RELEASE
12
                     Defendants.
13

14

15          It is hereby stipulated between the defendant, Gagik Nersesyan, by and
16   through his undersigned attorney, and the United States, by and through its
17   undersigned attorney, that the conditions of Mr. Nersesyan’s release should be
18   modified to allow him to attend his nephew’s wedding on November 11, 2017 in
19   Sacramento so long as he is home by 10 p.m., that evening. Mr. Nersesyan’s
20   pretrial officer has agreed to this modification.
21

22
     DATED: November 9, 2017                        /s/ Bruce Locke
23                                                  BRUCE LOCKE
                                                    Attorney for Gagik Nersesyan
24

25
     DATED: November 9, 2017                        /s/ Bruce Locke
26                                                  For BRIAN FOGERTY
                                                    Assistant United States Attorney
27                                                  Attorney for the United States
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                                                1
       Case 2:17-cr-00028-WBS Document 61 Filed 11/13/17 Page 2 of 2


 1   IT IS SO ORDERED.
 2   Dated: November 9, 2017
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